          Case 1:21-cr-00476-APM Document 38 Filed 11/14/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA )
                         )
                         )
                         )
          V.             )                    CR. NO. 21-476 (APM)
                         )
                         )
SHANE WOODS              )
          Defendant      )

    MOTION TO VACATE SENTENCING HEARING AND ALL RELATED FILING

                   DEADLINES AND SCHEDULE A STATUS HEARING

       COMES NOW, SHANE WOODS, defendant, through undersigned counsel

Dwight E. Crawley, and respectfully moves this Honorable Court to vacate the

sentencing date and all related filing deadlines in this matter and schedule a status

hearing. Mr. Woods is incarcerated in Illinois.

       WHEREFORE, counsel respectfully requests that this court grant the defendant’s

motion.



                                              Respectfully submitted
                                              SHANE WOODS

                                                               /s/
                                              ________________________________
                                              Dwight E. Crawley, Esq.
                                              DC BAR #472672
                                              Attorney for SHANE WOODS
                                              Law Office of Dwight E. Crawley
                                              1300 I. Street, NW
                                              Suite 400E
                                              Washington, DC 20005
                                              (202) 580-9794 Phone
                                              (888) 804-1806 Fax
         Case 1:21-cr-00476-APM Document 38 Filed 11/14/22 Page 2 of 2




                                              vadclawyer@gmail.com


                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of November, 2022, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send a notification of such filing
(NEF) to all attorneys of record.

                                                              /s/
                                              ________________________________
                                              Dwight E. Crawley, Esq.
                                              DC BAR #472672
                                              Attorney for SHANE WOODS
                                              Law Office of Dwight E. Crawley
                                              1300 I. Street, NW
                                              Suite 400E
                                              Washington, DC 20005
                                              (202) 580-9794 Phone
                                              (888) 804-1806 Fax
                                              vadclawyer@gmail.com




                                                 2
